Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 1 of 17 PageID #: 2659



                   IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


   KEVIN A. RIDEOUT,

               Petitioner,

   v.                                            Civil Action No. 2:07CV54
                                          (Criminal Action No. 2:00CR7-12)
   UNITED STATES OF AMERICA,                                       (STAMP)

               Respondent.


                         MEMORANDUM OPINION AND ORDER
                      AFFIRMING AND ADOPTING REPORT AND
                     RECOMMENDATION OF MAGISTRATE JUDGE

                             I.   Procedural History

         The pro se1 petitioner, Kevin A. Rideout (“Rideout”), filed a

   petition under 28 U.S.C. § 2255 to vacate, set aside or correct

   sentence by a person in federal custody.         In response to an order

   directing the respondent to answer, the respondent filed a response

   to the petitioner’s § 2255 petition to which the petitioner filed

   a document entitled “Traverse of the Petitioner to the Respondent’s

   Response in Opposition to Petitioner’s Motion Under 28 U.S.C.

   § 2255.”

         This matter was referred to United States Magistrate Judge

   James E. Seibert for initial review and report and recommendation

   pursuant to Local Rule of Prisoner Litigation 83.15.              Following

   review,    Magistrate     Judge   Seibert    submitted     a   report    and

   recommendation recommending that the petitioner’s § 2255 petition



         1
         “Pro se” describes a person who represents himself in a court
   proceeding without the assistance of a lawyer.         Black’s Law
   Dictionary 1237 (7th ed. 1999).
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 2 of 17 PageID #: 2660



   be denied. The magistrate judge informed the petitioner that if he

   objected to any portion of the recommendation for disposition, he

   must file written objections within ten days after being served

   with a copy of the recommendation.           The petitioner filed timely

   objections to the report and recommendation.           For the reasons set

   forth below, this Court finds that the report and recommendation by

   the   magistrate   judge   should     be   affirmed   and   adopted   in   its

   entirety, and that the petitioner’s § 2255 motion to vacate, set

   aside or correct sentence should be denied and dismissed.

                                   II.    Facts

         On May 11, 2001, the petitioner was found guilty by a jury in

   the Northern District of West Virginia for one count of cocaine

   conspiracy in violation of 21 U.S.C. § 846, and three counts of

   aiding and abetting in the distribution of crack cocaine in

   violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.

         On April 4, 2002, the petitioner was sentenced to 262 months

   of incarceration for the cocaine conspiracy count and 240 months of

   incarceration for the three counts of aiding and abetting in the

   distribution of crack cocaine, to run concurrently. The petitioner

   appealed, and the Fourth Circuit affirmed his conviction and

   sentence.    The petitioner then filed an appeal with the United

   States Supreme Court, who vacated the Fourth Circuit’s decision and

   remanded the case for further consideration in light of United

   States v. Booker, 543 U.S. 220 (2005).            On remand, the Fourth

   Circuit again affirmed the petitioner’s conviction and sentence.



                                         2
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 3 of 17 PageID #: 2661



                                  III.    Applicable Law

            Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

   a   de    novo   review   of    any    portion   of   the   magistrate   judge’s

   recommendation to which objection is timely made.                   As to those

   portions of a recommendation to which no objection is made, a

   magistrate judge’s findings and recommendation will be upheld

   unless they are “clearly erroneous.”             See Webb v. Califano, 468 F.

   Supp. 825 (E.D. Cal. 1979).              Because the petitioner has filed

   objections, this Court will undertake a de novo review as to those

   portions of the report and recommendation to which objections were

   made.

                                    IV.    Discussion

            In his petition, the petitioner claims that he is entitled to

   relief under § 2255 because he had ineffective assistance of

   counsel.         Specifically,    the    petitioner     asserts   the   following

   claims:

            (1) Claim One: The petitioner alleges that he received
            ineffective assistance of counsel because counsel failed
            to object or request curative jury instructions when the
            government introduced evidence of co-conspirators’ guilty
            pleas.

            (2) Claim Two: The petitioner alleges that he received
            ineffective assistance of counsel because counsel did not
            raise on appeal a violation of the petitioner’s Sixth
            Amendment rights due to prosecutorial misconduct in
            introducing the co-conspirators’ guilty pleas at trial.

            (3) Claim Three: The petitioner alleges that he received
            ineffective assistance of counsel because counsel did not
            give the petitioner an informed opinion on whether to
            accept or reject the government’s plea offer.




                                             3
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 4 of 17 PageID #: 2662



         (4) Claim Four: The petitioner alleges that he received
         ineffective assistance of counsel because counsel failed
         to object when the Court enhanced the petitioner’s
         sentence for obstruction of justice.

         (5) Claim Five: The petitioner alleges that he received
         ineffective assistance of counsel because counsel did not
         raise on appeal that the jury returned a “general
         verdict” that did not specify a particular controlled
         substance and amount.

         (6) Claim Six: The petitioner alleges that he received
         ineffective assistance of counsel because counsel did not
         investigate or familiarize himself with (a) drug evidence
         from the West Virginia State Police Crime Lab; (b)
         impeachment evidence of United States witness Melanie
         Smith; and (c) supplemental witness lists.

         (7) Claim Seven: The petitioner alleges that he received
         ineffective assistance of counsel because counsel did not
         raise on appeal that the evidence, if sufficient to prove
         a conspiracy, proved multiple conspiracies, and did not
         prove the one overarching conspiracy in the indictment.

         This Court finds that the petitioner has failed to satisfy the

   two-pronged analysis provided by Strickland v. Washington, 466 U.S.

   668 (1984), to establish a right to an amended sentence or new

   trial based upon ineffective assistance of counsel.             Id. at 687

   (providing that defendant must first show counsel’s performance

   fell below an objective standard and next show that the defendant

   was prejudiced by the counsel’s performance).             This Court will

   address each of the petitioner’s claims regarding ineffective

   assistance of counsel in turn.

   A.    Claim One

         The petitioner alleges that because his counsel did not object

   or request curative jury instructions when the Assistant United

   States Attorneys (“AUSAs”) introduced evidence of co-conspirators’



                                        4
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 5 of 17 PageID #: 2663



   guilty pleas during opening statements, direct examinations, and

   closing arguments, he received ineffective assistance of counsel.

   The petitioner reiterates this same argument in his objections to

   the magistrate judge’s report and recommendation.

         This Court overrules the petitioner’s objections and agrees

   with the magistrate judge that the petitioner’s first claim lacks

   merit.   The Fourth Circuit has held that

         the government may elicit testimony regarding a plea
         agreement only if: (1) the prosecutor’s questions do not
         imply that the government has special knowledge of the
         witness’ veracity; (2) the trial judge instructs the jury
         on the caution required in evaluating the witness’
         testimony; and (3) the prosecutor’s closing argument
         contains no improper use of the witness’ promise of
         truthful cooperation.

   United States v. Romer, 148 F.3d 359, 369 (4th Cir. 1998), cert.

   denied, 525 U.S. 1141 (1999) (citing United States v. Henderson,

   717 F.2d 135, 137-38 (4th Cir. 1983)).         The petitioner’s examples

   of the government’s alleged improper introduction of the co-

   conspirators’ plea agreements do not violate these safeguards.

   Indeed, the petitioner has not demonstrated that any of the AUSAs’

   statements implicated special knowledge of witness veracity or

   contained improper use of a co-conspirator’s promise of truthful

   cooperation.     Furthermore, the Court provided the jury with the

   following instructions regarding co-conspirators’ guilty pleas:

         The fact that an alleged accomplice or alleged co-
         conspirator has entered a plea of guilty in this case is
         not evidence that the defendant in this trial is guilty
         in this trial, and you cannot consider this against a
         defendant in this trial in any way.




                                        5
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 6 of 17 PageID #: 2664



   Accordingly, because the guilty pleas were properly introduced, the

   petitioner’s ineffective assistance of counsel argument in Claim

   One must fail.

   B.    Claim Two

         In conjunction with his first claim, the petitioner alleges

   that he received ineffective assistance of counsel because his

   counsel did not raise on appeal the AUSAs’ prosecutorial misconduct

   in   mentioning     the    co-conspirators’    guilty      pleas.      In    his

   objections, the petitioner asserts that this claim was a “dead bang

   winner,” and that had it been raised on appeal, his sentence and

   conviction would have been vacated.

         As    noted   by    the   magistrate    judge   in    his     report   and

   recommendation, “reversible prosecutorial misconduct generally has

   two components: that (1) the prosecutor’s remarks or conduct must

   in fact have been improper, and (2) such remarks or conduct must

   have prejudicially affected the defendant’s substantial rights so

   as to deprive the defendant of a fair trial.”               United States v.

   Chorman, 910 F.2d 102, 103 (4th Cir. 1990) (internal quotations

   omitted).    This Court has already decided in section II.A of this

   memorandum opinion and order that the AUSAs’ remarks were not

   improper.     Accordingly, the petitioner cannot satisfy the first

   prong necessary for reversible prosecutorial misconduct, and Claim

   Two must be denied.




                                         6
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 7 of 17 PageID #: 2665



   C.     Claim Three

          In this claim, the petitioner alleges that his counsel was

   ineffective because he never gave the petitioner his informed

   opinion on whether to accept or reject the government’s plea offer.

   Rather, the petitioner claims that counsel only informed him of the

   plea    offer   without   discussing       the   overall   strength   of   the

   government’s case, and that “had counsel used a considerable amount

   of persuasion” to “convince” the petitioner that the plea offer was

   more favorable than trial, he would have accepted the offer.

          Defense counsel must undertake the following duties during

   plea negotiations: “(1) notify the client of a plea offer; (2)

   advise the client of the option to proceed to trial; (3) present

   the client with the probable outcomes of both the guilt and

   sentencing phases of each alternative; and (4) permit the client to

   make the ultimate decision.”        Jones v. United States, 2008 U.S.

   Dist. LEXIS 24908, at *7 (D. Md. Mar. 28, 2008) (citing Jones v.

   Murray, 947 F.2d 1106, 1110-1111 (4th Cir. 1991)).

          Undoubtedly, the petitioner’s counsel notified the petitioner

   of the plea offer, advised the client of the option to proceed to

   trial, and ultimately, permitted the client to make the decision

   whether to accept or reject the government’s plea offer.              The only

   prong that the petitioner contests, therefore, is whether counsel

   presented the petitioner with the probable outcome of proceeding to

   trial by informing the petitioner of the overall strength of the

   government’s case.



                                          7
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 8 of 17 PageID #: 2666



          This   Court   agrees    with    the     magistrate         judge    that     the

   petitioner was well apprised of the strength of the government’s

   case against him.         In his § 2255 petition, the petitioner admits

   that    “[t]he     government    evidence       in    the     instant       case     was

   overwhelming.      The government case was supported by at least 50

   witnesses, numerous videoed controlled buys by undercover agents,

   etc.” (Pet’r’s Mot. 15.) In his objections, the petitioner claims

   that he did not know about the strength of the government’s case

   against him until after trial.          This objection lacks merit.                Prior

   to trial, the United States provided the petitioner with witness

   lists, and the petitioner viewed, with counsel present, video

   recording     evidence     captured    during    the    investigation          of    the

   petitioner’s case.        Accordingly, the petitioner cannot claim that

   he was unaware of the government’s case against him.

          Moreover,    the    petitioner’s      argument       that    he     would    have

   accepted the plea offer if counsel had used a “considerable amount

   of persuasion” must fail. “[A] lawyer must take care not to coerce

   a client into either accepting or rejecting a plea offer.”                         Jones

   v. Murray, 947 F.2d at 1111.           Therefore, the petitioner’s counsel

   was under no obligation to persuade the petitioner into accepting

   the plea agreement. The petitioner, in his objections, claims that

   the magistrate judge should not have decided this claim without

   first holding an evidentiary hearing.                This Court disagrees.            In

   Sneed v. Smith, 670 F.2d 1348, 1455 (4th Cir. 1982), the court held

   that an evidentiary hearing was warranted because it was not



                                            8
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 9 of 17 PageID #: 2667



   possible on the record provided “to determine as a matter of law

   that [defendant’s] counsel either did or did not display the range

   of competence demanded of attorneys in criminal cases.”              Such a

   situation is not currently before this Court.         Because counsel may

   never exert undue influence over a defendant’s decision to accept

   or reject a plea agreement, and similarly must ensure that the

   decision is ultimately determined by the defendant, the record

   before this Court, by the petitioner’s own admission, conclusively

   establishes that the petitioner’s counsel was not ineffective for

   failing   to   persuade   the   petitioner    into   accepting    the   plea

   agreement.     Accordingly, Claim Three must fail.

   D.    Claim Four

         In Claim Four, the petitioner contends that his counsel was

   ineffective by failing to object when the court enhanced the

   petitioner’s sentence for obstruction of justice.           The petitioner

   objected to the magistrate judge’s recommendation that this claim

   lacks merit. This Court observes that defendant’s objection number

   one to the presentence investigation report prepared by the United

   States Probation Officer did specifically object the two-level

   enhancement     for   obstruction   of   justice.      Nevertheless,     the

   defendant’s objection was overruled by the sentencing court, and

   the decision of the United States Probation Officer was sustained.

   This Court believes, however, that the petitioner’s claim, as

   stated, materializes from a misinterpretation of the following




                                        9
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 10 of 17 PageID #:
                                    2668


 language in the Fourth Circuit’s United States v. Rideout, 2006 WL

 2141257, at * 1 (4th Cir. 2006), opinion:

       This Court has identified two types of Booker error: a
       violation of the Sixth Amendment, and a failure to treat
       the sentencing guidelines as advisory . . .      Because
       Rideout did not raise a Sixth Amendment challenge or
       object to the mandatory application of the guidelines in
       the district court, review is for plain error.

 (internal citations omitted).        To the extent that the petitioner

 contends that counsel rendered ineffective assistance by failing to

 raise a Sixth Amendment violation before the sentencing court

 because the obstruction of justice enhancement was imposed without

 the alleged threat to a government witness being found by the jury

 or admitted to by the petitioner, this Court finds that the

 petitioner’s Claim Four lacks merit.

       “The failure of counsel to object to an improper application

 of the sentencing guidelines may amount to ineffective assistance

 of counsel.”    United States v. Breckenridge, 93 F.3d 132, 136 (4th

 Cir. 1996).    However, “an analysis focusing solely on mere outcome

 determination, without attention to whether the result of the

 proceeding was fundamentally unfair or unreliable, is defective.”

 Strickland, 506 U.S. 364, 369 (1993).        As succinctly stated by the

 magistrate judge in his report and recommendation, therefore,

 “[j]ust because the standard of review for petitioner would have

 been different if counsel had objected is not, by itself, a




                                      10
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 11 of 17 PageID #:
                                    2669


 sufficient           demonstration       of        prejudice.”2           (Report       and

 Recommendation 11.)

         In this case, the petitioner’s total offense level was raised

 by two levels from 32 to 34 for obstruction of justice.                         Combined

 with        the   petitioner’s    criminal         history     category    of   VI,     the

 sentencing         guideline     range   was       262    to   327   months,    and     the

 petitioner was sentenced to 262 months imprisonment.                       Removing the

 obstruction of justice enhancement so that the petitioner’s total

 offense level is a 32 yields a guideline range of between 210 and

 262 months.          Accordingly, because 262 months of imprisonment is

 still       within    the   guideline    range,          the   petitioner’s     claim    is

 meritless.         Moreover, this Court agrees with the magistrate judge

 and the Fourth Circuit that no proof exists that a lower sentence

 would have been imposed if the guidelines were not mandatory.

 Rideout, 2006 WL 2141257 at *1.                     Thus, Claim Four lacks merit

 because the petitioner cannot demonstrate prejudice.

 E.      Claim Five

         In his petition, the petitioner claims that he received

 ineffective assistance of counsel when counsel failed to raise on

 appeal the issue of wrongful sentencing because the jury returned

 a “general verdict” that did not specify a particular controlled

 substance or amount.              Thus, the petitioner argues that he is

 entitled to resentencing under the drug which carried the most


         2
       The petitioner argues that had counsel properly raised the
 Sixth Amendment violation the standard of review at the appellate
 level would have been harmless error rather than plain error.

                                               11
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 12 of 17 PageID #:
                                    2670


 lenient     sentence.      These      arguments    are    reasserted    in     the

 petitioner’s    objections      to    the    magistrate   judge’s    report    and

 recommendation.

       The petitioner’s Claim Five is without merit.                 Count One of

 the indictment, for which the petitioner was found guilty, cites 21

 U.S.C. § 841(b)(1)(A)(iii), which states as follows:

       (1)(A) In the case of violation of subsection (a) of this
       section involving - 50 grams or more of a mixture or
       substance described in clause (ii) which contains cocaine
       base . . . Such person shall be sentenced to a term of
       imprisonment which may not be less than 10 years or more
       than life . . .

 Furthermore,    a     special   interrogatory       submitted   to     the    jury

 provided:

       Please answer the following special interrogatory only if
       the jury has found one or more of the defendants guilty
       of the crime charged in Count I (Conspiracy), beyond a
       reasonable doubt.

            A)   Having found the defendant(s) guilty in Count
       I, the jury further finds beyond a reasonable doubt that
       the crime involved (please select one of the following):

                     1.   Fifty (50) grams or more of
                     cocaine base also known as “crack.”

                     2.    Five (5) grams or more of
                     cocaine base, also known as “crack.”

                     3.   Less than Five (5) grams of
                     cocaine base, also known as “crack.”

 The jury answered “yes” to question one, while answering “no” to

 questions two and three.             The petitioner, therefore, was found

 beyond a reasonable doubt to have engaged in a conspiracy involving

 50 grams or more of cocaine base or “crack.”              Accordingly, because

 the petitioner incorrectly argues that the jury returned a “general

                                         12
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 13 of 17 PageID #:
                                    2671


 verdict” that failed to specify a particular controlled substance

 or amount, he cannot claim that his counsel was ineffective for not

 raising this issue on appeal.        Thus, the petitioner’s Claim Five

 must fail.

 F.      Claim Six

         In Claim Six, the petitioner alleges that counsel rendered

 ineffective assistance by failing to investigate and familiarize

 himself with discovery materials, particularly drug evidence from

 the West Virginia State Police Crime Lab, impeachment evidence from

 United States witness Melanie Smith, and supplemental witness

 lists.    The magistrate judge held that the petitioner’s claim must

 fail.     In his objections, the petitioner asserts that counsel’s

 conduct was “unreasonable and egregious at best” and ruined “the

 reliability of the adversarial testing process.”

         “In considering claims of ineffective assistance of counsel,

 we address not what is prudent or inappropriate, but only what is

 constitutionally compelled.”        Burger v. Kemp, 483 U.S. 776, 794

 (1987) (quoting United States v. Cronic, 466 U.S. 648, 665 n.38

 (1984)) (internal quotations omitted). In reviewing the deficiency

 prong in claims of ineffective assistance of counsel, the court

 “must judge the reasonableness of counsel’s challenged conduct on

 the facts of the particular case, viewed as of the time of

 counsel’s conduct.”      Strickland, 466 U.S. at 689-90.         Here, the

 petitioner     claims   that   counsel    failed    to   investigate     and

 familiarize himself with evidence from the West Virginia State



                                      13
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 14 of 17 PageID #:
                                    2672


 Police Crime Lab. This Court agrees with the magistrate judge that

 the petitioner has not demonstrated that counsel either ignored or

 failed to familiarize himself with the government’s evidence.

 Rather, counsel’s filing of a motion to suppress based upon an

 alleged     government    delay    demonstrates    his    willingness     to

 investigate the evidence.

       Next, the petitioner claims that counsel rendered ineffective

 assistance by failing to investigate and familiarize himself with

 impeachment evidence of United States witness Melanie Smith.            This

 claim must also fail. In addition to the petitioner’s inability to

 demonstrate any deficiency or prejudice, a review of the trial

 transcript reveals that defense counsel was able to draw admissions

 from the witness that could seriously call her credibility into

 question.    Thus, the petitioner’s counsel did not prove deficient,

 and actually, elicited damaging testimony from a government witness

 in benefit of the petitioner at trial.

       Lastly, the petitioner claims that counsel’s unfamiliarity

 with the case, as well as his ineffectiveness, was evidenced when

 he objected to a witness that appeared on the government’s third

 supplemental witness list.        “A lawyer’s failure to investigate a

 witness   who   has   been   identified   as   crucial   may   indicate   an

 inadequate investigation, the failure to investigate everyone whose

 name happens to be mentioned by the defendant does not suggest

 ineffective assistance.”       Huffington v. Nuth, 140 F.3d 572, 580

 (4th Cir. 1998).      The magistrate judge found that because this was



                                      14
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 15 of 17 PageID #:
                                    2673


 a nine day drug conspiracy trial involving five defendants, it was

 certainly    reasonable       that   counsel     may    not   have    remembered   a

 witness’s name that appeared on the government’s third supplemental

 witness     list.         Further,   the      petitioner’s      counsel   prepared

 throughout the night to cross-examine the witness the following

 morning.     Therefore, the magistrate judge recommended that the

 petitioner’s counsel did not render ineffective assistance and that

 the petitioner’s claim must fail.               After a de novo review, this

 Court agrees, and accordingly, Claim Six, in its entirety, lacks

 merit.

 G.    Claim Seven

       Finally,      the     petitioner     claims      that     his   counsel   was

 ineffective for failing to raise on appeal that the evidence, if

 sufficient    to    prove     a   conspiracy,     may    have    proved   multiple

 conspiracies, but not the one overarching conspiracy alleged in the

 indictment.    The petitioner’s final claim must fail.

       Counsel need not assert all nonfrivolous issues on appeal.

 Jones v. Barnes, 463 U.S. 745, 750 (1983), but is entitled to a

 presumption that he decided which issues would be most successful

 on appeal.       Pruett v. Thompson, 996 F.2d 1560, 1568 (4th Cir.

 1993).    The Supreme Court has recognized that

       [l]egal contentions, like the currency, depreciate
       through over-issue. The mind of an appellate judge is
       habitually receptive to suggestion that a lower court
       committed an error. But receptiveness declines as the
       number of assigned errors increases. Multiplicity hints
       at lack of confidence in any one . . . [E]xperience on
       the bench convinces me that multiplying assignments of



                                          15
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 16 of 17 PageID #:
                                    2674


       error will dilute and weaken a good case and will not
       save a bad one.

 Barnes, 463 U.S. at 752 (quoting Jackson, Advocacy Before the

 Supreme Court, 25 Temple L.Q. 114, 119 (1951)).                       Nevertheless,

 although difficult to prove, a petitioner may still bring a

 Strickland ineffective assistance of counsel claim on appeal.

 Smith v. Robbins, 528 U.S. 259, 288 (2000).                   “[O]nly when ignored

 issues    are    clearly      stronger    than    those       presented      will   the

 presumption of effective assistance of counsel be overcome.”                        Id.

       In his objections, the petitioner argues that the overarching

 conspiracy issue was clearly stronger than other issues that

 counsel   raised    on     appeal.       This    Court       must   disagree.       The

 petitioner      fails    to    demonstrate      how    the    testimony      from   two

 different    witnesses        proves   multiple       conspiracies     but    not   the

 overarching conspiracy charged in the indictment.                      Furthermore,

 counsel raised seven issues, a substantial number, on appeal, and

 there is no evidence that this issue is clearly stronger, or has

 greater merit, than those issues counsel ultimately chose to raise.

 Accordingly, the petitioner’s final claim must be denied.

                                   V.     Conclusion

       Based upon a de novo review, this Court finds that the report

 and recommendation of the magistrate judge should be, and is

 hereby, affirmed and adopted in its entirety. Accordingly, for the

 reasons set forth above, the petitioner’s § 2255 petition is

 DENIED.   It is further ORDERED that this civil action be DISMISSED

 WITH PREJUDICE and STRICKEN from the active docket of this Court.

                                           16
Case 2:00-cr-00007-FPS-JES Document 1162 Filed 02/17/09 Page 17 of 17 PageID #:
                                    2675


       Should the petitioner choose to appeal the judgment of this

 Court to the United States Court of Appeals for the Fourth Circuit

 on the issues to which objection was made, he is ADVISED that he

 must file a notice of appeal with the Clerk of this Court within 30

 days after the date that the judgment order in this case is

 entered.    See Fed. R. App. P. 4(a)(1).       Upon reviewing the notice

 of   appeal,   this   Court   will    either   issue   a   certificate    of

 appealability or state why a certificate should not be issued in

 accordance with Federal Rule of Appellate Procedure 22(b)(1).             If

 this Court should deny a certification, the petitioner may request

 a circuit judge of the United States Court of Appeals for the

 Fourth Circuit to issue the certificate.

       IT IS SO ORDERED.

       The Clerk is directed to transmit copies of this order to the

 petition by certified mail and to counsel of record herein.

 Pursuant to Federal Rule of Civil Procedure 58, the Clerk is

 directed to enter judgment on this matter.

       DATED:     February 17, 2009




                                      /s/ Frederick P. Stamp, Jr.
                                      FREDERICK P. STAMP, JR.
                                      UNITED STATES DISTRICT JUDGE




                                       17
